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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

TRAVIS BAIR,                                   )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       Case No. 1:20-cv-00769-ELH
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
       Defendant.                              )

                    JOINT MOTION TO MODIFY SCHEDULING ORDER

       The parties, by and through their respective undersigned counsel, pursuant to Fed. R. Civ.

P. 16(b)(4) and Maryland Local Rule 103.9, respectfully submit this Joint Motion to Modify the

Scheduling Order, and in support thereof, state as follows:

       1.        This Federal Tort Claims Act (“FTCA”) action involves a motor vehicle accident

on December 31, 2015 in Cumberland, Maryland involving a vehicle operated by Plaintiff, Travis

Bair (“Mr. Bair”), and a vehicle operated by an employee of the United States Postal Service.

       2.        This matter was STAYED on or about February 3, 2022 due to Plaintiff’s

incarceration. Plaintiff has recently been released from the Washington County Detention Center.

Counsel for Plaintiff has had limited contact with Plaintiff. Counsel for Plaintiff has been delayed

in properly preparing this case due to the Plaintiff’s current situation and has had to reschedule

several meetings with Plaintiff. In addition, Plaintiff had previously propounded discovery

requests to Defendant but has just send revised discovery in order to comply with the Local Rules

of this Court.

       3.        As a result, the parties seek to modify the deadlines in the Scheduling Order as

follows:
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                                       OLD DEADLINE                   PROPOSED DEADLINE

Rules 26(e)(2) supplementation of
Disclosures and responses:             June 3, 2022                   August 4, 2022


Discovery deadline and
Submission of status reports:          June 17, 2022                  August 17, 2022


Requests for admissions:               June 24, 2022                  August 24. 2022


Dispositive motion deadline:           July 25, 2022                  September 26, 2022

       4.       Plaintiff and Defendant are working diligently to complete discovery. No party

will be prejudiced by modifying the Scheduling Order as outlined above.

       5.       In addition, the parties are in the process of setting up mediation with the

Honorable Susan K. Gauvey.

       WHEREFORE, the parties respectfully request that the Court grant the parties’ Joint

Motion to Modify the Scheduling Order. A proposed Order is enclosed.

                                               Respectfully submitted,

                                               Erek L. Barron
                                               Acting United States Attorney


                                               ________/s/__________________________
                                               Evelyn Lombardo Cusson (Bar No. 13926) (with
                                               permission)
                                               Assistant United States Attorney
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                                               America
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                                          ________/s/__________________________
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                                          blplaw@atlanticbbn.net
                                          Attorney for Plaintiff, Travis Bair


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of June, 2022, a copy of the foregoing Joint

Motion and Proposed Order was served on counsel of record via the Court’s CM/ECF system.


                                          _________/s/___________________
                                          Ramani Pillai
                                          Attorney for Plaintiff
